
IN RE: Rami, Elliot;: — Plaintiff(s); Applying for Supervisory and/or Remedial Writ; Parish of East Baton Rouge 19th Judicial District Court Div. “L” Number 7-98-642, 3-93-871; to the Court of Appeal, First Circuit, Number KW98 1982
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La. 9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
TRAYLOR, J. not on panel.
